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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR131
                                             )
               Plaintiff,                    )
                                             )
               vs.                           )                    ORDER
                                             )
PABLO REZA LANDIN,                           )
                                             )
               Defendant.                    )

        This matter is before the Court on the Defendant’s motion to proceed on appeal in

forma pauperis (Filing No. 305). The Defendant also filed a Notice of Appeal. (Filing No.

304.)

        The Defendant was permitted to proceed in district court as one financially unable

to obtain adequate defense prior to obtaining retained counsel. Defendant is entitled to

proceed in forma pauperis on appeal without further authorization, unless this Court

certifies that the appeal is not taken in good faith or finds that the Defendant is not

otherwise entitled to proceed in forma pauperis. Fed. R. App. P. 24(a)(3). The Court does

not intend to so certify or find.

        Therefore, the motion will be granted, and the Defendant may proceed on appeal

in forma pauperis.

        IT IS ORDERED:

        1.     The Defendant’s motion to proceed on appeal in forma pauperis (Filing No.

               305) is granted; and

        2.     The Defendant may proceed on appeal in forma pauperis.

        DATED this 26th day of July, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
